           Case
11/3/22, 10:31 AM   1:22-cv-02141-RLY-MJD Document 1-1 Summary
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                                                                MyCase  Page 1 of 22 PageID #: 7
                  the court maintaining a particular record.


   Rachel Eskew v. PHI-Stonelake, LLC d/b/a Stone Lake Apartments
    Case Number                                   49D11-2110-CT-033348

    Court                                         Marion Superior Court 11

    Type                                          CT - Civil Tort

    Filed                                         10/05/2021

    Status                                        10/05/2021 , Pending (active)


   Parties to the Case
   Defendant PHI-Stonelake, LLC d/b/a Stone Lake Apartments
      Address
      c/o National Registered Agents, Inc.
      334 North Senate Avenue
      Indianapolis, IN 46204

      Attorney
      James M Hinshaw
      #1674449, Lead, Retained

      2700 Market Tower
      10 W. Market Street
      Indianapolis, IN 46204-2982
      317-635-8900(W)

      Attorney
      Moncerrat Zamudio Alvarez
      #3675649, Retained

      Dentons Bingham Greenbaum LLP
      2700 Market Tower
      10 W Market St
      Indianapolis, IN 46204
      317-635-8900(W)


   Plainti          Eskew, Rachel
             ff
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11/3/22, 10:31 AM   1:22-cv-02141-RLY-MJD Document 1-1 Summary
                                                        Filed -11/03/22
                                                                MyCase  Page 2 of 22 PageID #: 8
      Attorney
      Kellie C Clark
      #3099929, Lead, Retained

      HENSLEY LEGAL GROUP,PC
      8350 SUNLIGHT DRIVE
      SUITE 300
      FISHERS, IN 46037
      317-472-3333(W)

      Attorney
      Rudy Micah Longman
      #3267329, Retained

      Hensley Legal Group, PC
      8350 Sunlight Drive, Suite 300
      Fishers, IN 46037
      317-472-3333(W)


   Chronological Case Summary
    10/05/2021 Case Opened as a New Filing


    10/05/2021          Appearance Filed
                    Appearance - Kellie Clark

                    For Party:                  Eskew, Rachel
                    File Stamp:                 10/05/2021

    10/05/2021          Complaint/Equivalent Pleading Filed
                    Complaint

                    Filed By:                   Eskew, Rachel
                    File Stamp:                 10/05/2021

    10/05/2021          Subpoena/Summons Filed
                    Summons

                    Filed By:                   Eskew, Rachel
                    File Stamp:                 10/05/2021

    10/06/2021          Certi cate of Issuance of Summons
                                fi
                    Certi cate of Issuance of Summons
                         fi
                    Filed By:                   Eskew, Rachel
                    File Stamp:                 10/06/2021

    10/18/2021          Certi ed Mail Returned
                                fi
                    GREEN CARD SIGNED

                    Party Served:               PHI-Stonelake, LLC d/b/a Stone Lake Apartments

    04/28/2022          Appearance Filed
                    Appearance for PHI-StoneLake, LLC d/b/a Stone Lake Apartments

                    For Party:                  PHI-Stonelake, LLC d/b/a Stone Lake Apartments
                    File Stamp:                 04/28/2022




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6IloxRC16T2QtR0taZlI1NXFFZVppQ2hCNEJ0THhOV3NRTlpVU0kt…   2/3
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                                                        Filed -11/03/22
                                                                MyCase  Page 3 of 22 PageID #: 9
    04/28/2022          Answer Filed
                    Defendant's Answer to Complaint For Damages

                    Filed By:                       PHI-Stonelake, LLC d/b/a Stone Lake Apartments
                    File Stamp:                     04/28/2022

    08/12/2022          Appearance Filed
                    Appearance - Rudy Longman

                    For Party:                      Eskew, Rachel
                    File Stamp:                     08/12/2022


   Financial Information
   * Financial Balances re ected are current representations of transactions processed by the Clerk’s O ce. Please note that any
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     balance due does not re ect interest that has accrued – if applicable – since the last payment. For questions/concerns regarding
                                     fl
     balances shown, please contact the Clerk’s O ce.ffi
   Eskew, Rachel
   Plainti
             ff
   Balance Due (as of 11/03/2022)
   0.00

   Charge Summary
    Description                                                                 Amount              Credit              Payment
    Court Costs and Filing Fees                                                 157.00              0.00                157.00

   Transaction Summary
    Date                   Description                                          Amount
    10/05/2021             Transaction Assessment                               157.00
    10/05/2021             Electronic Payment                                   (157.00)



                  This is not the of icial court record. Of icial records of court proceedings may only be obtained directly from
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                  the court maintaining a particular record.




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6IloxRC16T2QtR0taZlI1NXFFZVppQ2hCNEJ0THhOV3NRTlpVU0kt…      3/3
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 4 of 22 PageID
                           49D11-2110-CT-033348                             #:10/5/2021
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                                                                                                         Clerk
                                       Marion Superior Court 11                         Marion County, Indiana




 STATE OF INDIANA  )                     IN THE MARION COUNTY SUPERIOR COURT
                   ) SS:
 COUNTY OF MARION )                      CAUSE NO:
                                         )
 RACHEL ESKEW,                           )
                                         )
               Plaintiff,                )
                                         )
        vs.                              )
                                         )
 PHI-STONELAKE, LLC d/b/a                )
 STONE LAKE APARTMENTS,                  )
                                         )
               Defendant.                )


                                       APPEARANCE
 1.     Rachel Eskew
        Name of represented party

 2.     Attorney information (as applicable for service of process):

        Name: Kellie C. Clark                          Atty Number: 30999-29___
        HENSLEY LEGAL GROUP, PC                        Phone: (317) 472-3333
        Address:117 East Washington Street             FAX:      (317) 472-3340
        Suite 200                                      Email: kclark@hensleylegal.com
        Indianapolis, IN 46204

 3.     Case Type requested: CT

 4.     Will accept FAX service: Yes       No X _



                                                       Kellie C. Clark, #30999-29
                                                       Attorney for Plaintiff

 HENSLEY LEGAL GROUP, PC
 117 E. Washington Street, Suite 200
 Indianapolis, IN 46204
 (317) 472-3333 Phone
 (317) 472-3340 Facsimile
 kclark@hensleylegal.com
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 5 of 22 PageID
                           49D11-2110-CT-033348                             #:10/5/2021
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                                                                                                               Clerk
                                        Marion Superior Court 11                              Marion County, Indiana




 STATE OF INDIANA  )                      IN THE MARION COUNTY SUPERIOR COURT
                   ) SS:
 COUNTY OF MARION )                       CAUSE NO:
                                          )
 RACHEL ESKEW,                            )
                                          )
                Plaintiff                 )
                                          )
        vs.                               )
                                          )
 PHI-STONELAKE, LLC d/b/a                 )
 STONE LAKE APARTMENTS,                   )
                                          )
                Defendant.                )




                                COMPLAINT FOR DAMAGES

        COMES now the Plaintiff, Rachel Eskew (“Plaintiff”), by counsel, and for her Complaint

 for Damages against the Defendant, PHI-Stonelake, LLC d/b/a Stone Lake Apartments, alleges

 and asserts that:

        1.      At all times mentioned herein, the Plaintiff, Rachel Eskew, was and is a resident

 of the City of Indianapolis, County of Marion, State of Indiana.

        2.      At all times mentioned herein, the Defendant, PHI-Stonelake, LLC d/b/a Stone

 Lake Apartments, (“Defendant”) was doing business in the State of Indiana and was maintaining

 a premise known as Stone Lake Apartments, and located at 4079 Creek Way, Apt. A, City of

 Indianapolis, County of Marion, State of Indiana.

        3.      All of the acts and/or omissions of the Defendant, PHI-Stonelake, LLC d/b/a

 Stone Lake Apartments, herein alleged, were performed and/or omitted by and through the

 agents, servants, and/or employees of the Defendant while they were acting within the scope and

 course of their employment.
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 6 of 22 PageID #: 12




        4.      On or about July 7, 2020, the Plaintiff, Rachel Eskew, was a guest and invitee of

 the Defendant at the above-referenced premises, when she was injured due to a large, hazardous

 portion of cement/rock, which caused her to fall.

        5.      The Defendant was required to exercise reasonable and ordinary care under all

 circumstances and operation of its premises, including the above- referenced premises at which

 the Plaintiff was injured.

        6.      The above-mentioned incident was directly and proximately caused by the

 carelessness and negligence of the Defendant, including, but not limited to, one or more of the

 following acts and/or omissions:

        a.      The Defendant carelessly and negligently failed to inspect and discover the
                dangerous condition existing at said location;

        b.      The Defendant carelessly and negligently failed to warn the Plaintiff of the
                dangerous condition existing at said location when the Defendant knew or should
                have known of the same;

        c.      The Defendant carelessly and negligently failed to provide premises reasonably
                safe under the existing conditions; and

        d.      The Defendant carelessly and negligently failed to correct the dangerous
                condition at said location when the Defendant knew or should have known of the
                existence of the same.

        7.      As a direct and proximate result of the Defendant’s carelessness and negligence,

 the Plaintiff sustained personal injuries, resulting in pain and suffering.

        8.      As a result of her injuries and their effects, the Plaintiff, Rachel Eskew, has been

 required to engage the services of hospitals, physicians, and medical technicians for medical

 treatment, medication and x-rays, and has incurred, and may incur in the future, medical

 expenses for such treatment.
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 7 of 22 PageID #: 13




         9.     As a result of her injuries, the Plaintiff, Rachel Eskew, has incurred reasonable

 medical expenses for medical care and treatment and may incur additional medical expenses in

 the future.

         10.    As a result of her injuries and the treatment of said injuries, the Plaintiff, Rachel

 Eskew, has lost income, and may continue to lose income in the future, all caused by the

 negligence of the Defendant.

         WHEREFORE, the Plaintiff, Rachel Eskew, prays for judgment against the Defendant,

 PHI-Stonelake, LLC d/b/a Stone Lake Apartments, in an amount commensurate with her injuries

 and damages, for the costs of this action, and for all other just and proper relief in the premises.


                                                        Respectfully Submitted,



                                                        Kellie C. Clark, #30999-29
                                                        Attorney for Plaintiff



 HENSLEY LEGAL GROUP, PC
 117 E. Washington Street, Suite 200
 Indianapolis, IN 46204
 (317) 472-3333 (Phone)
 (317) 472-3340 (Facsimile)
 kclark@hensleylegal.com
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 8 of 22 PageID #: 14




                                 REQUEST FOR TRIAL BY JURY

        Comes now the Plaintiff, Rachel Eskew by counsel, and file herein her Request for Trial

 by Jury for the above-action.



                                                    Respectfully submitted,




                                                    Kellie C. Clark, #30999-29
                                                    Attorney for Plaintiff



 HENSLEY LEGAL GROUP, PC
 117 E. Washington Street, Suite 200
 Indianapolis, IN 46204
 (317) 472-3333 (Phone)
 (317) 472-3340 (Facsimile)
 kclark@hensleylegal.com
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 9 of 22 PageID
                           49D11-2110-CT-033348                             #:10/5/2021
                                                                        Filed: 15       10:22 AM
                                                                                                      Clerk
                                            Marion Superior Court 11                 Marion County, Indiana


 STATE OF INDIANA  )                          IN THE MARION COUNTY SUPERIOR COURT
                   ) SS:
 COUNTY OF MARION )

 RACHEL ESKEW,                                )
                                              ) CAUSE NO:
                 Plaintiff,                   )
                                              )
         vs.                                  )
                                              )
 PHI-STONELAKE, LLC d/b/a STONE               )
 LAKE APARTMENTS,                             )
                                              )
                 Defendant.                   )


         TO DEFENDANT:              PHI-Stonelake, LLC d/b/a Stone Lake Apartments
                                    c/o National Registered Agents, Inc.
                                    334 North Senate Avenue
                                    Indianapolis, IN 46204

       You are hereby notified that you have been sued by the person named as
 Plaintiff and in the Court indicated above.
       The nature of the suit against you is stated in the Complaint which is
 attached to this Summons. It also states the relief sought or the demand
 made against you by the Plaintiff.
       An answer or other appropriate response in writing to the Complaint
 must be filed either by you or your attorney within twenty (20) days,
 commencing the day after you receive this Summons, (or twenty-three (23) days
 if this Summons was received by mail), or a judgment by default may be
 rendered against you for the relief demanded by Plaintiff.
       If you have a claim for relief against the Plaintiff arising from the
 same transaction or occurrence, you must assert it in your answer.
 DATED: 10/5/2021 __________________________________ (Seal)
                  CLERK, Marion County Superior Court

 (The following manner of service of summons is hereby designated)
         Registered or certified mail.
         Service at place of employment, to wit:
         Service on individual - (Personal or copy) at above address.
   X     Service on agent. (Specify)
         Other Service. (Specify)


 Kellie C. Clark, #30999-29
 Attorney for Plaintiff
 117 E Washington St, Suite 200
 Indianapolis, IN. 46204
 (317)472-3333
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 10 of 22 PageID #: 16



                        CLERK’S CERTIFICATE OF MAILING
        I hereby certify that on the ______day of__________________, 2021, I
  mailed a copy of the Complaint to the Defendant, PHI-Stonelake, LLC,
  by certified mail, requesting a return receipt, at the address furnished by
  the Plaintiff.

                                       ____________________________________________
                                       Kellie C. Clark

  Dated:______________________         By: Kellie C. Clark




                    RETURN ON SERVICE OF SUMMONS BY MAIL
        I hereby certify that the attached return receipt was received by me
  showing that the Summons and a copy of the Complaint mailed to Defendant
  was accepted by the Defendant on the ______day of__________________, 20___.

        I hereby certify that the attached return receipt was received by me
  showing that the Summons and a copy of the Complaint was not accepted on the
  ______day of__________________, 20___.

        I hereby certify that the attached return receipt was received by me
  showing that the Summons and a copy of the Complaint mailed to Defendant,
  _________________________was accepted by________________________ on behalf of
  said Defendant on the ______day of__________________, 20___.



                          ____________________________________________
                          CLERK, Marion County Superior Court


                          By:________________________________________
                          Deputy
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 11 of 22 PageID
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                                                                                                          Clerk
                                                                                         Marion County, Indiana

  STATE OF INDIANA  )                     IN THE MARION COUNTY SUPERIOR COURT
                    ) SS:
  COUNTY OF MARION )                      CAUSE NO: 49D11-2110-CT-033348
                                 )
  RACHEL ESKEW,                  )
                                 )
             Plaintiff,          )
        v.                       )
                                 )
  PHI-STONELAKE, LLC d/b/a STONE )
  LAKE APARTMENTS,               )
                                 )
             Defendant.          )


                       CERTIFICATE OF ISSUANCE OF SUMMONS

         I certify that on Wednesday, October 6, 2021 I mailed a copy of the summons and a copy

  of the complaint to the defendant, Stone Lake Apartments, 2913 E. Hanna Avenue, Indianapolis,

  IN 46227 by certified mail #7020-1810-0001-5909-2054, requesting a return receipt to the

  Marion County Clerk’s office.




                                            _____________________________
                                            Kellie C. Clark, Attorney # 30999-29
                                            Attorney for Plaintiff



  HENSLEY LEGAL GROUP, PC
  117 East Washington Street, Suite 200
  Indianapolis, IN 46204
  (317) 472-3333
  kclark@hensleylegal.com
2-cv-02141-RLY-MJD        Document 1-1 COMPLETE
  -ENDER: COMPLETE THIS SECTION         Filed 11/03/22
                                                THIS SECTIONPage   12 of 22 Pag
                                                             ON DELIVERY

 I    Complete items 1. 2. and 3.
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 I    Print your name and address on the reverse                           "                                                                      El Agent           I

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                                                                                                            Marion County, Indiana




  STATE OF INDIANA                  )                 IN THE MARION COUNTY SUPERIOR COURT
                                    ) SS:
  COUNTY OF MARION                  )                 CAUSE NO. 49D11-2110-CT-033348

  RACHEL ESKEW,                              )
                                             )
                  Plaintiff,                 )
                                             )
          v.                                 )
                                             )
  PHI-STONELAKE, LLC d/b/a                   )
  STONE LAKE APARTMENTS,                     )
                                             )
                  Defendant.                 )


                               APPEARANCE BY ATTORNEY IN CIVIL CASE

  Party Classification:    Initiating       Responding      X    Intervening ___

  1.      The undersigned attorney and attorneys listed on this form now appear in this case for the
          following party member(s):
                                         PHI-STONELAKE, LLC d/b/a
                                         STONE LAKE APARTMENTS

  2.      Applicable attorney information for service as required by Trial Rule 5(B)(2) and for case
          information as required by Trial Rule 3.1 and 77(B) is as follows:

          Name:     James M. Hinshaw, #16744-49
                    Moncerrat Z. Alvarez, #36756-49
                    DENTONS BINGHAM GREENEBAUM LLP                   Phone: 317-635-8900
                    2700 Market Tower                                Fax:   317-236-9907
                    10 W. Market Street                              Email: james.hinshaw@dentons.com
                    Indianapolis, IN 46204-4900                             moncerrat.alvarez@dentons.com

  3.      There are other party members: Yes         No X

  4.      If first initiating party filing this case, the Clerk is requested to assign this case the following Case
          Type under Administrative Rule 8(b)(3): N/A

  5.      I will accept service by FAX at the above noted number: Yes No X

  6.      This case involves support issues. Yes     No X (If yes, supply social security numbers for all family
          members on continuation page.)

  7.      There are related cases: Yes      No X (If yes, list on continuation page.)

  8.      This form has been served on all other parties. Yes X No

  9.      Additional information required by state or local rule: Not Applicable
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 15 of 22 PageID #: 21




  Authority: Pursuant to Trial Rule 3.1(B), this form shall be filed upon the first appearance in the case. In
  emergencies, the requested information shall be supplied when it becomes available. Parties shall advise
  the court of a change in the information previously provided to the court. This format is approved by the
  Division of State Court Administration.

                                                    Respectfully submitted,

                                                     /s/ James M. Hinshaw
                                                    James M. Hinshaw, #16744-49
                                                    Moncerrat Z. Alvarez, #36756-49


  DENTONS BINGHAM GREENEBAUM LLP
  2700 Market Tower
  10 West Market Street
  Indianapolis, IN 46204
  Phone: 317.635.8900
  Facsimile: 317.236.9907
  james.hinshaw@dentons.com
  moncerrat.alvarez@dentons.com



                                        CERTIFICATE OF SERVICE

         I hereby certify that on the 28th day of April, 2022, the foregoing was filed with the Clerk of the
  Marion County Superior Court via electronic filing utilizing the Indiana E-Filing System (IEFS).


  Kellie C. Clark
  HENSLEY LEGAL GROUP, PC
  117 E. Washington Street, Suite 200
  Indianapolis, IN 46204
                                                    /s/ James M. Hinshaw
                                                    James M. Hinshaw
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 16 of 22 PageID  #:4/28/2022
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                                                                                                   Marion County, Indiana




  STATE OF INDIANA               )               IN THE MARION COUNTY SUPERIOR COURT
                                 ) SS:
  COUNTY OF MARION               )               CAUSE NO. 49D11-2110-CT-033348

  RACHEL ESKEW,                          )
                                         )
                  Plaintiff,             )
                                         )
         v.                              )
                                         )
  PHI-STONELAKE, LLC d/b/a               )
  STONE LAKE APARTMENTS,                 )
                                         )
                  Defendant.             )


              DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES

         Defendant PHI-Stonelake, LLC d/b/a Stone Lake Apartments (“Stone Lake”), by counsel,

  repeats the allegations of the Plaintiff’s Complaint for Damages (“Complaint”) and hereby submits

  Stone Lake’s Answer and Affirmative Defenses to the Complaint.

         1. At all times mentioned herein, the Plaintiff, Rachel Eskew, was and is a resident of the City

  of Indianapolis, County of Marion, State of Indiana.

         ANSWER:

         Stone Lake is presently without sufficient information to admit or deny the allegations
         set forth in Paragraph 1 of the Complaint, and therefore denies them.

         2.    At all times mentioned herein, the Defendant, PHI-Stonelake, LLC d/b/a Stone Lake

  Apartments, (“Defendant”) was doing business in the State of Indiana and was maintaining a premise

  known as Stone Lake Apartments, and located at 4079 Creek Way, Apt. A, City of Indianapolis,

  County of Marion, State of Indiana.

         ANSWER:

         Stone Lake admits it was doing business in Indianapolis in Marion County, Indiana, but
         denies the remaining allegations set forth in Paragraph 2 of the Complaint.

         3.    All of the acts and/or omissions of the Defendant, PHI-Stonelake, LLC d/b/a Stone Lake

  Apartments, herein alleged, were performed and/or omitted by and through the agents, servants, and/or




                                                    1
Case 1:22-cv-02141-RLY-MJD Document 1-1 Filed 11/03/22 Page 17 of 22 PageID #: 23



  employees of the Defendant while they were acting within the scope and course of their employment.

          ANSWER:

         Stone Lake denies that any of the referenced acts and/or omissions were the result of any
         negligence or wrongdoing by Stone Lake. Stone Lake is presently without sufficient
         information to admit or deny the remaining allegations set forth in Paragraph 3 of the
         Complaint, and therefore denies them.

          4.   On or about July 7, 2020, the Plaintiff, Rachel Eskew, was a guest and invitee of the

  Defendant at the above-referenced premises, when she was injured due to a large, hazardous portion

  of cement/rock, which caused her to fall.

          ANSWER:

         Stone Lake is presently without sufficient information to admit or deny the allegations
         set forth in Paragraph 4 of the Complaint, and therefore denies them.

          5. The Defendant was required to exercise reasonable and ordinary care under all

  circumstances and operation of its premises, including the above- referenced premises at which the

  Plaintiff was injured.

          ANSWER:

         Stone Lake denies the allegations set forth in Paragraph 5 of the Complaint.

          6.   The above-mentioned incident was directly and proximately caused by the carelessness

  and negligence of the Defendant, including, but not limited to, one or more of the following acts and/or

  omissions:

          a.      The Defendant carelessly and negligently failed to inspect and discover the dangerous
                  condition existing at said location;

          b.      The Defendant carelessly and negligently failed to warn the Plaintiff of the dangerous
                  condition existing at said location when the Defendant knew or should have known of
                  the same;

          c.      The Defendant carelessly and negligently failed to provide premises reasonably safe
                  under the existing conditions; and

          d.      The Defendant carelessly and negligently failed to correct the dangerous condition at
                  said location when the Defendant knew or should have known of the existence of the
                  same.




                                                     2
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          ANSWER:

          Stone Lake denies the allegations set forth in Paragraph 6 of the Complaint and its
          subparts.

          7.   As a direct and proximate result of the Defendant’s carelessness and negligence, the

  Plaintiff sustained personal injuries, resulting in pain and suffering.

          ANSWER:

          Stone Lake denies the allegations set forth in Paragraph 7 of the Complaint.

          8.   As a result of her injuries and their effects, the Plaintiff, Rachel Eskew, has been required

  to engage the services of hospitals, physicians, and medical technicians for medical treatment,

  medication and x-rays, and has incurred, and may incur in the future, medical expenses for such

  treatment.

          ANSWER:

          Stone Lake is presently without sufficient information to admit or deny the allegations
          set forth in Paragraph 8 of the Complaint, and therefore denies them.

          9.   As a result of her injuries, the Plaintiff, Rachel Eskew, has incurred reasonable medical

  expenses for medical care and treatment and may incur additional medical expenses in the future.

          ANSWER:

          Stone Lake is presently without sufficient information to admit or deny the allegations
          set forth in Paragraph 9 of the Complaint, and therefore denies them.

          10. As a result of her injuries and the treatment of said injuries, the Plaintiff, Rachel Eskew,

  has lost income, and may continue to lose income in the future, all caused by the negligence of the

  Defendant.

          ANSWER:

          Stone Lake denies the allegations that Stone Lake was negligent. Stone Lake is presently
          without sufficient information to admit or deny the remaining allegations set forth in
          Paragraph 10 of the Complaint, and therefore denies them.


          WHEREFORE, Defendant prays that Plaintiff take nothing by way of her Complaint for




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  damages and for all other proper relief.


                            STONE LAKE’S AFFIRMATIVE DEFENSES

          PHI-Stonelake, LLC d/b/a Stone Lake Apartments (“Stone Lake”), for its affirmative and

  separate defenses to Plaintiff’s Complaint, asserts the following:

          1.      Plaintiff fails to state a claim upon which relief can be granted.

          2.      Stone Lake owed no duty to Plaintiff that would allow recovery of damages for the

  injuries, if any, alleged in Plaintiff’s Complaint.

          3.      Stone Lake did not breach duties, if any, owed to Plaintiff under the applicable law

  and thus is not liable to Plaintiff.

          4.      Plaintiff’s alleged injuries and/or damages, if any, were not caused by any act or

  omission of Stone Lake.

          5.      The damages complained of by Plaintiff were or may have been the result of

  intervening actions of others and thus were not proximately caused by the actions or omissions of

  Stone Lake.

          6.      Any allegedly dangerous condition was known or obvious to Plaintiff.

          7.      Plaintiff assumed the risk of any allegedly dangerous condition.

          8.      Plaintiff’s own fault caused or contributed to the alleged injuries or damages sought

  in this action. Any award of damages to Plaintiff, if any, should be diminished in proportion to

  the amount of fault attributable to her. To the extent Plaintiff is more than fifty percent (50%) at

  fault, Plaintiff is not entitled to recover anything in this action.

          9.      Plaintiff’s alleged injuries or damages sought may have been caused by the fault of

  nonparties to this action, and fault should be allocated to any such nonparties, with any award of




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  damages to Plaintiff, if any, being diminished in proportion to the amount of fault attributable to

  such nonparties.

          10.     In the event that Plaintiff receives any collateral source payments for the damages

  complained of in the Complaint, Stone Lake will be entitled to a set-off in the amount of any such

  collateral source payments against any judgment entered against it, as Plaintiff is precluded from

  receiving a double recovery with respect to Plaintiff’s alleged injuries, damages, and losses.

          11.     Plaintiff’s claims may be barred by the Plaintiff’s failure to join necessary and/or

  indispensable parties.

          12.     Plaintiff failed to take reasonable action to mitigate her alleged damages, if any.

          13.     Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver,

  estoppel, equitable estoppel, unclean hands, and/or laches.

          14.     Discovery and investigation are incomplete and Stone Lake cannot be reasonably

  expected to presently know whether additional affirmative defenses may be applicable. Stone

  Lake therefore reserves the right to add additional affirmative defenses as may be applicable and

  appropriate during the pendency of this action.



          WHEREFORE, Stone Lake requests that Plaintiff take nothing by way of this action and that the

  Court enter judgment in Stone Lake’s favor against the Plaintiff on all claims. Stone Lake further requests

  that costs be assessed against Plaintiff and that Stone Lake be awarded all other appropriate relief.



                                                    Respectfully submitted,

                                                    /s/ James M. Hinshaw
                                                    James M. Hinshaw, #16744-49
                                                    Moncerrat Z. Alvarez, #36756-49
                                                    DENTONS BINGHAM GREENEBAUM LLP
                                                    2700 Market Tower, 10 West Market Street
                                                    Indianapolis, IN 46204-4900


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                                                     Counsel for Defendant,
                                                     PHI-Stonelake, LLC
                                                     d/b/a Stone Lake Apartments




                                CERTIFICATE OF FILING AND SERVICE

            I hereby certify that on the 28th day of April, 2022, the foregoing Defendant’s Answer to Plaintiff’s
  Complaint for Damages was filed with the Clerk of the Marion County Superior Court via electronic filing
  utilizing the Indiana E-Filing System (IEFS).

  Kellie C. Clark
  HENSLEY LEGAL GROUP, PC
  117 E. Washington Street, Suite 200
  Indianapolis, IN 46204

                                                     /s/ James M. Hinshaw
                                                     James M. Hinshaw




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                                                                                       Marion County, Indiana




  STATE OF INDIANA  )                    IN THE MARION COUNTY SUPERIOR COURT
                    ) SS:
  COUNTY OF MARION )                     CAUSE NO: 49D11-2110-CT-033348
                                         )
  RACHEL ESKEW,                          )
                                         )
               Plaintiff,                )
                                         )
        vs.                              )
                                         )
  PHI-STONELAKE, LLC d/b/a               )
  STONE LAKE APARTMENTS,                 )
                                         )
               Defendant.                )


                                        APPEARANCE

  Case Number:


  1.    Rachel Eskew
        Name of represented party

  2.    Attorney information (as applicable for service of process):

        Name: Rudy Longman                           Atty Number: 32673-29
        HENSLEY LEGAL GROUP, PC                      Phone: (317) 472-3333
        Address: 8350 Sunlight Drive                 FAX: (317) 472-3340
        Suite 300                                    Email: rlongman@hirehensley.com
        Fishers, IN 46037

  3.    Case Type requested: CT

  4.    Will accept FAX service: Yes __ No __X_




                                                     _______________________________
                                                     Rudy M. Longman, #32673-29
                                                     Attorney for Plaintiff
